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| United Siates Bankruptcy Court for the:
Mu ide iJ District of iJ¢

| Case number (if mown): Chapter you are filing under:

Chapter 7 i

Chapter 11
C3 Chapter 12 i oo.
2 Chapter 13 L) Check if this is an

amended filing

Official Form 101
Voluntary Petition for individuals Filing for Bankruptcy 06/22

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married coupie may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

a identify Yourself

* About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name

Write the name that is on your p | G { ry

govemment-issued picture

identification (for example, First name First name
your driver's license or
passport). Middle =ne/ : | ] . i Middle name
Bring your picture | f l qY | .
identification to your meeting — Last name Last name
with the trustee.
Suffix (Sr., dr., If, Hi) Suffix (Sr, Jr., Il, Il)

% ¥

'2. All other names you

have used in the last 8 First name First name
years
Include your married or Middie name Middle name
maiden names.
Last name Last name
First name First name
Middle name- Middle name
Last name Last name

3. Only the last 4 digits of v | (\ UY
XXX — XX — } XXX — XX —

your Social Security

number or federal OR OR

Individual Taxpayer

Identification number 9 xx - x - Ox - x -
(ITIN)

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oo
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[lan

Debtor 1 4 Uf ~~
irst Name Middle Name

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

5. Where you live

6. Why you are choosing
this district to file for
bankruptcy

Official Form 101

it
Last Name

About Debtor 1:

Case number (i known),

QO | have not used any business names or E)¥s.
f

Business name

Business name

64 yt 96099

EN

[Yys SW Dost

About Debtor 2 (Spouse Only in a Joint Case):

C) t have not used any business names or EINs.

Business name

Business name

EN

if Debtor 2 lives at a different address:

Number Street

Number Street _

WA arr! (ede 7 >

City te = ZIP Code

City State ZIP Code

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

County

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

Number Street

Number Street

P.O. Box P.O. Box
City State ZIP Code City State ZIP Code
Check one: Check one:

Over the fast 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(| have another reason. Explain.
(See 28 U.S.C. § 1408.)

Voluntary Petition for Individuals Filing for Bankruptcy

C2 Over the tast 180 days before filing this petition,
{ have lived in this district longer than in any
other district.

C2 | have another reason. Explain.
(See 28 U.S.C. § 1408.)

page 2
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Debtor 1 Case number (fF fouwn)
First Name Middle Name Last Name
ae Tell the Court About Your Bankruptcy Case
7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing te file P
under Chapter 7
CL) Chapter 11
O) Chapter 12

O Chapter 13

8. How you will paythe fee (21 will pay the entire fee when | file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

a need to pay the fee in installments. if you choose this option, Sign and attach the
‘Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

U) 1 request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

9. Have you filed for No
bankruptcy within the
last 8 years? Yes. District When Case number
MM / DD/YYYY
District When Case number

MM/ DD/YYYY

District When Case number
MM/ DD/YYYY

“casas pondngoriing OY Eduardo Diepe I

filed bya spouse who is Debtor eee 74 j Relationship to you
-_ vonbyab i District e : D : Fy / Ou “A When Case number, if known —_
9 I MM/DD /YYYY ? Le j f

partner, or by an 2 c- 1S gO Y- (MoM L
affiliate?

Debtor Relationship to you

District When Case number, if known,

MM /DD/YYYY
11. Do you rent your K No. Go to line 12.

residence? Yes. Has your landlord obtained an eviction judgment against you?

Q) No. Go to line 12.

C) Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 3
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Debtor 4 Case number (f known)

First Name Middle Name Last Name.

Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor i No. Go to Part 4.
of any full- or part-time
business? () Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

oo partnership, or me Sz

Name of business, if any

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

City State ZIP Code

Check the appropriate box to describe your business:

() Health Care Business {as defined in 11 U.S.C. § 101(27A))

C) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

O) Stockbroker (as defined in 11 U.S.C. § 101(53A))

UC) Commodity Broker (as defined in 11 U.S.C. § 101(6))

C) None of the above

13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor or a debior

Chapter 11 of the choosing to proceed under Subchapter V so that it can set appropriate deadlines. if you indicate that you
Bankruptcy Code, and are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your

= t recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
are you a smail business ™°S' * ; : : ’
debtor or a debtor as any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

defined by 11 U.S. C. § No. | am not filing under Chapter 11.

1182(1)? CI No. tam filing under Chapter 11, but | am NOT a small business debtor according to the definition in

For a definition of small the Bankruptcy Code.

business debtor, see . . we

nase . sah fs oh C] Yes. lam filing under Chapter 11, | am a small business debtor according to the definition in the Bankruptcy

Code, and | do not choose to proceed under Subchapter V of Chapter 11.
OQ) Yes. jam filing under Chapter 11, |! am a debtor according to the definition in § 1182(1) of the
Bankrupicy Code, and I choose to proceed under Subchapter V of Chapter 17.

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Debtor 1 Case number (finown),

First Name Middle Name Last Name

Fe reper if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any Yano
property that poses or is

alleged to pose a threat | “I Yes. Whats the hazard?
of imminent and
identifiable hazard to

public health or safety?
Or do you own any

property that needs if immediate attention is needed, why is it needed?

immediate attention?
For example, do you own

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?
Where is the property?

Number Street

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 5
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Debtor 14

First Name Middie Name Last Name

6/23. Page 6ofi1

Case number (fimawn),

FEET cian Your Efforts to Receive a Briefing About Credit Counseling

18. Tell the court whether About Debtor 1:
you have received a
briefing about credit You must check one:
counseling.

CJ t received a briefing from an approved credit
counseling agency within the 180 days before I
filed this bankruptcy petition, and | received a
certificate of completion.

Aitach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. if you

cannot do so, you are not a-| received a briefing from an approved credit

counseling agency within the 180 days before |

eligible to file. filed this bankruptcy petition, but | do not have a
certificate of completion.

en et Within 14 days after you file this bankruptcy petition,

will lose whatever filing fee oe “faw file a copy of the certificate and payment

you paid, and your creditors
can begin collection activities

again On certify that | asked for credit counseling
TY.

services from an approved agency, but was
unable to obtain those services during the 7
days after I made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
Tequired you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
Still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do SO, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

Ct am not required to receive a briefing about
credit counseling because of:

C1 incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the intemet, even after |
reasonably tried to do so.

(CQ Disability.

CI Active duty.

| am currently on active Military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Official Form 101 Voluntary Petition for Individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

U) I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Aitach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

(1 | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do SO, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

L] | am not required to receive a briefing about
credit counseling because of:

OO) incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Q Disability. My physical disability causes me

to be unable to participate in a

briefing in person, by phone, or

through the intemet, even after |
reasonably tried to do so.

C) Active duty.

| am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 6
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Debtor 1 Case number (neun),
First Name Middie Name Last Name

BER answer These Questions for Reporting Purposes

. 16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do as “incurred by an individual primarily for a personal, family, or household purpose.”

you have?
OV No. Go to line 16b.
‘ves. Go io line 17.
16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.
LJ No. Go to line 16c.
¢ Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

17. Are you filing under

Chapter 7? CI No. lamnot filing under Chapter 7. Go to line 18.

Do you estimate that after Al Yes. 1 am filing under Chapter 7. Do you estimate that after any exempt property is excluded and

any exempt property is ‘ administrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and U No

administrative expenses

are paid that funds will be Jf Yes

available for distribution
to unsecured creditors?

18. How many creditors do 1-49 Q) 1,000-5,000 C2) 25,001-50,000
you estimate that you 50-99 CQ 5,001-10,000 {) 50,001-100,000
owe? CI 100-199 (3 40,001-25,000 C} More than 100,000
_ a 2009099 ean _. one oe
19. How much do you (2 $0-$50,000 C2 $1,000,001-$10 million C2 $500,000,001-$1 billion
estimate your assets to 2). $50,001-$100,000 C2) $10,000,001-$50 million 2 $14,000,000,001-$10 billion
be worth? $100,001-$500,000 (2 $50,000,001-$100 million C) $10,000,000,001-$50 billion
a $500,001-$1 million C3 $100,000,001-$500 million Q) More than $50 billion
20. How much do you C2 $0-$50,000 CI $1,000,001-$10 million C2 $500,000,001-$1 billion
estimate your liabilities — ) $50,.001-$100,000 CI $10,000,001-$50 million C) $1,000,000,001-$10 billion
to be? C2} $100,001-$500,000 C2 $50,000,001-$106 million (3 $10,000,000,001-$50 billion
$500,001-$1 million (2) $100,000,001-$500 million CJ More than $50 billion

EERE sion cotow
| have examined this petition, and | declare under penalty of perjury that the information provided is true and
For you correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no attomey represents me and { did not Pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a
with a bankruptcy cas:

ty property, or obtaining money or property by fraud in connection
n resulLirt fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1 and 3571.
x Tf) Vill]
Signature o sbtor 1 5 Signature of Debtor 2
14 [05-4952
Executed o 1 Executed on —
MM 7s DD IRYTY MM / DD /YYYY

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
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we Ale Ville sett

First Name Middle Last Name

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
If you are not represented knowledge after an inquiry that the informatjon in the schedules filed with the petition is incorrect.

by an attorney, you do not

For your attorney, if you are
represented by one

need to file this page. x f ‘7 YD
a) Date
Signature of Attomey for Debtor | MM / DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8
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Dam Vi [ler

Debtor 1 Case number (if known)

First Namo Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

If you are represented by

an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide io file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

(C No
@ Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

0 No

Wd Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
i No
Q) Yes. Name of Person

Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

x QA) feel

Signature of Debtor 2
Date
MM/ DD /YYYY
Contact phone Contact phone
Cell phone _ Cell phone
Email address G Y( la Ine “hhh al hj ne | Email address
. : wo e

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 9
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IN THE UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

Miami Division

In re:
Case No. 23-
Al CAPITAL HOLDINGS LLC
ALAIN VILLAR Code 7

Debtor

MATRIX

Pursuant to Rule:

The following list are the names and address of Debtor Creditors

SUNWOOD INC
2401 E ATLANTIC BLVD.
#204
POMPANO BEACH, FL 33060

Current Mailing Address:

POBOX 714
POMPANO BEACH, FL 33061

Name and Address of Current Registered Agent:

STANISH, DANE T
3475 SHERIDAN STREET SUITE 209
HOLLYWOOD, FL 33021 US

WENDY SANCHEZ, P.A
6365 COLLINS AVENUE
Unit 2206
Miami, Fl. 33141
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ALBERTO SOLAR
14045 SW 30- ST
MIAMI, FLORIDA 33175

MAILING ADDRESS

8150 SW 72 AVE
PH 131
MIAMI, FL. 33143

OLD REPUBLIC NATIONAL TITLE INSURANCE COMPANY

C/O SHAPIRO RAMOS PA
19 WEST FLAGLER STREET
SUITE 516
MIAMI, FLORIDA, 33130

Filed this 5" day of April 2023

